




 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;No. 2--95--1075

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 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;IN THE



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLATE COURT OF ILLINOIS



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;SECOND DISTRICT

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In re R.C.K., &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;) Appeal from the Circuit Court

a Minor &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;) of Lake County.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;)

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;) No. 95--J--256

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;)

(The People of the State of &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;) Honorable 

Illinois, Petitioner-Appellee, &nbsp;&nbsp;) David M. Hall,

v. R.C.K., Respondent-Appellant).) Judge, Presiding.

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 &nbsp;&nbsp;&nbsp;&nbsp;JUSTICE DOYLE delivered the opinion of the court:



 &nbsp;&nbsp;&nbsp;&nbsp;Respondent, R.C.K., was alleged to be a delinquent minor in a

petition for adjudication of wardship that charged the offense of

armed robbery (720 ILCS 5/18--2(a) (West 1994)). &nbsp;The case was

retained in the juvenile court, and the minor entered an admission

to the petition. &nbsp;On June 30, 1995, the court adjudicated the minor

a ward of the court and committed him to the Department of

Corrections, Juvenile Division. &nbsp;Subsequently, respondent's

attorney filed a motion to reconsider sentence, which the court

denied on August 17, 1995, following a hearing. &nbsp;On that same date,

a notice of appeal was filed. &nbsp;On September 1, 1995, an amended

notice of appeal was filed. &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;On June 26, 1996, respondent filed a motion to summarily

reverse the judgment and to remand the cause for compliance with

Illinois Supreme Court Rule 604(d) (145 Ill. 2d R. 604(d)) because

of his counsel's failure to file a certificate stating that, prior

to the hearing on respondent's motion to reconsider sentence,

counsel had performed the functions to which he must certify. &nbsp;Rule

604(d) provides, in relevant part:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"No appeal from a judgment entered upon a plea of

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;guilty shall be taken unless the defendant, within 30 days

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;of the date on which sentence is imposed, files in the trial

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;court a motion to reconsider the sentence, if only the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;sentence is being challenged, or, if the plea is being

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;challenged, a motion to withdraw his plea of guilty and

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;vacate the judgment. &nbsp;*** &nbsp;The defendant's attorney shall

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;file with the trial court a certificate stating that the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;attorney has consulted with the defendant either by mail or

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;in person to ascertain his contentions of error in the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;sentence or the entry of the plea of guilty, has examined

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;the trial court file and report of proceedings of the plea

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;of guilty, and has made any amendments to the motion

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;necessary for adequate presentation of any defects in those

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;proceedings." &nbsp;145 Ill. 2d R. 604(d).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In People v. Janes, 158 Ill. 2d 27 (1994), the supreme court

held that failure to comply strictly with each of the provisions of

Rule 604(d) mandates a remand to the circuit court for the filing

of a new motion to withdraw the guilty plea or to reconsider the

sentence and a new hearing on the motion. &nbsp;158 Ill. 2d at 33. 

Respondent contends that Rule 604(d) applies to juvenile cases as

well as criminal cases and that, because counsel for respondent

failed to file a certificate in compliance with Rule 604(d), the

judgment must be summarily reversed, and the cause remanded to the

circuit court. &nbsp;The State maintains that the certification

requirement of Rule 604(d) is not applicable to juvenile cases. &nbsp;We

do not agree.

 &nbsp;&nbsp;&nbsp;&nbsp;Supreme Court Rule 660(a) provides that appeals in juvenile

delinquency cases shall be governed by the rules applicable to

criminal cases. &nbsp;134 Ill. 2d R. 660(a); In re A.W., 185 Ill. App.

3d 473, 474 (1989). &nbsp;By the use of the term "rules," Rule 660(a)

incorporates the other supreme court rules into delinquency

appeals. &nbsp;See In re W.C., 167 Ill. 2d 307, 324 (1995). &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;In particular, Rule 604(d) has been found to apply in

delinquency appeals. &nbsp;In In re F.D., 89 Ill. App. 3d 223 (1980),

this court determined that Supreme Court Rule 604(d) is applicable

to appeals by minors who have been adjudicated delinquent following

an admission. &nbsp;89 Ill. App. 3d at 228. &nbsp;More recently, our supreme

court in W.C. cited Rule 604(d) as an example of a supreme court

rule applicable to criminal cases that also governs delinquency

appeals. &nbsp;W.C., 167 Ill. 2d at 322. &nbsp;While both of the

aforementioned cases in referring to the applicability of Rule

604(d) to delinquency appeals mention only that portion of the rule

concerning the withdrawal of guilty pleas and while no authority

for applying the &nbsp;certificate requirement of the rule to

delinquency appeals has been found, we cannot accept the State's

position that only part of Rule 604(d) applies to juvenile

delinquency proceedings. &nbsp;As respondent points out, Supreme Court

Rule 660(a), in incorporating the other supreme court rules into

delinquency appeals, makes no provision for the bifurcation of the

rules. &nbsp;See 134 Ill. 2d R. 660(a).

 &nbsp;&nbsp;&nbsp;&nbsp;The State contends that the holding in W.C. casts doubt on the

applicability of the requirements of Rule 604(d) in juvenile cases. 

The question in W.C. was whether a post-trial motion was required

to preserve a claimed error in delinquency proceedings. &nbsp;The court

held that a written post-trial motion was not required in

delinquency proceedings because Supreme Court Rule 660(a)

incorporates the other supreme court rules in delinquency appeals,

but not statutes such as section 116--1 of the Code of Criminal

Procedure of 1963 (725 ILCS 5/116--1 (West 1994)) requiring a

written post-trial motion in criminal cases. &nbsp;The court commented,

"While arguably a Rule 604(d) motion might be viewed as a 'post-

trial' motion because it follows trial, we do not decide on these

facts whether such a motion is required to take a delinquency

appeal." &nbsp;W.C., 167 Ill. 2d at 324. &nbsp;The court pointed out that

respondent entered no admission such that the requirement of a Rule

604(d) motion "might come into play." &nbsp;Also, there was no challenge

to respondent's sentence. &nbsp;Accordingly, based on the issue and the

facts presented in W.C., we are not persuaded to change the view we

expressed in F.D. that Rule 604(d) applies to delinquency appeals.

 &nbsp;&nbsp;&nbsp;&nbsp;We conclude that Supreme Court Rule 604(d), in its entirety,

is applicable to delinquency appeals.

 &nbsp;&nbsp;&nbsp;&nbsp;We, therefore, reverse the judgment of the circuit court of

Lake County and remand the cause for compliance with Rule 604(d).

 &nbsp;&nbsp;&nbsp;&nbsp;Reversed and remanded.

 &nbsp;&nbsp;&nbsp;&nbsp;McLAREN, P.J., and BOWMAN, J., concur.




